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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

THE STATE OF GEORGIA, et al.,              )
                                           )
                 Plaintiffs,               )
                                           )
ASSOCIATED BUILDERS AND                    )
CONTRACTORS, INC.,                         )
                                           )     Case 1:21-cv-00163-RSB-BKE
                 Plaintiff-Intervenor,     )
                                           )
v.                                         )
                                           )
JOSEPH R. BIDEN in his official            )
capacity as President of the United;       )
States, et al.,                            )
                                           )
                 Defendants.               )
                                           )


            PLAINTIFF-INTERVENOR’S RESPONSE TO DEFENDANTS’
              EMERGENCY MOTION FOR STAY PENDING APPEAL
                AND FOR IMMEDIATE ADMINISTRATIVE STAY

           Plaintiff-Intervenor, Associated Builders and Contractors, Inc., (ABC), by and

through undersigned counsel, submits this Response to Defendants’ Motion for Stay

Pending Appeal and for Immediate Administrative Stay.

           Defendants seek “clarification” on two aspects of the preliminary injunction

issued by this Court (Doc. 94): (1) whether the preliminary injunction prohibits

private federal contractors from “mutually agreeing” with Defendants to include

COVID-19 safety clauses in their federal contracts, and (2) whether the preliminary

injunction is limited to the enforcement of the Safer Federal Workforce Task Force’s

vaccination requirements so that federal agencies can nevertheless enforce



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requirements regarding masking, physical distancing, and the identification of a

person to coordinate COVID-19 safety requirements at the workplace. As discussed

below, ABC takes the position that such “clarification” is not within this Court’s

power, nor is it necessary.

1.         District Courts Have Limited Powers on Matters on Appeal.

           As a general matter, the filing of a notice of appeal deprives the district court

of jurisdiction over all issues involved in the appeal. See Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58, 103 S. Ct. 400, 402, 74 L. Ed. 2d 225 (1982); Doe

v. Bush, 261 F.3d 1037, 1064 (11th Cir. 2001) (“As a general rule, the filing of a notice

of appeal divests the district court of jurisdiction over those aspects of the case that

are the subject of the appeal.”), cert. denied Kearney v. Does, 534 U.S. 1104, 122 S. Ct.

903, 151 L. Ed. 2d 872 (2002); Taylor v. Sterrett, 640 F.2d 663, 667-68 (5th Cir. 1981);

Rauback v. City of Savannah, 2021 U.S. Dist. LEXIS 156115, 2021 WL 3674076 (S.D.

Ga. 2021). However, it does not prevent the district court from taking action “in

furtherance of the appeal.” Lairsey v. Advance Abrasives Co., 542 F.2d 928, 930 (5th

Cir. 1976) (citations omitted). Nor does it prevent the court from entertaining motions

on matters collateral to those at issue on appeal. Doe, 261 F.3d at 1064 (citing Weaver

v. Fla. Power & Light Co., 172 F.3d 771, 773 (11th Cir.1999)); Mahone v. Ray, 326

F.3d 1176 (11th Cir. 2003)1.



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 For example, the district court retains jurisdiction after the filing of a notice of
appeal to entertain and deny a Rule 60(b) motion. Griffin v. Swim-Tech Corp., 722
F.2d 677, 680 (11th Cir. 1984). The court does not, however, retain jurisdiction to
grant a Rule 60(b) motion following the filing of a notice of appeal. Nevertheless, in
this case, Defendants have not filed a Rule 60(b) motion.


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           In this case, what the Defendants are seeking goes well beyond matters

collateral to the those at issue on appeal. Rather, the “clarification” sought by

Defendants goes to the heart of the preliminary injunction that they have appealed

to the Eleventh Circuit Court of Appeals. Defendants’ Notice of Appeal reads as

follows:

           PLEASE TAKE NOTICE that all Defendants hereby appeal to the
           United States Court of Appeals for the Eleventh Circuit from this
           Court’s Opinion & Order dated December 7, 2021, ECF No. 94, which
           (1) granted the amended motion for a preliminary injunction filed by
           Plaintiffs, ECF No. 55; (2) granted in part and denied in part the motion
           to intervene filed by Associated Builders and Contractors of Georgia and
           Associated Builders and Contractors, Inc. (ABC), ECF No. 48; and (3)
           granted ABC’s motion for a preliminary injunction, ECF No. 50.

(Doc. 96). Defendants are appealing the Court’s entire Order (Doc. 94) without

reservation. Thus, any aspect of the preliminary injunction, which was a significant

part of the Court’s Order, is a matter for consideration by the Eleventh Circuit.

2.         There is no need for “clarification” of the Court’s Order.

           a.     Mutual agreements to include COVD-19 safety clauses in
                  federal contracts do not really exist.

           Even if the Court had the power to make the “clarification” that the Defendants

are seeking, there is no need for such “clarification” because the reality is there is no

such thing as “mutual agreements” between the federal government and its

contractors because the imbalance of power between the federal government and its

contractors means it is difficult to characterize any agreement to contractual

provision requested by the federal government as “mutual.” Federal government

contract        solicitations   are   published   on   the   official   government   website,

www.beta.Sam.gov. It is the federal government that sets the terms of the contracts


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awarded pursuant to this process. As the witnesses at the hearing before this Court

explained, when the federal government tells a contractor to include a specific clause

in a contract, whether it is the initial contract, an amendment, or a renewal, the

contractor has little or no opportunity to reject the inclusion of that language. Simply

put, if a contractor does not agree to the federal government’s terms, then the federal

government will find another contractor that will. See, e.g. Supplemental Declaration

of Michael P. Shannon (Doc. 76-1, par. 6): “Georgia Tech was required to agree to FAR

clause 52.223-99 to maintain its eligibility for the contract award pursuant to the

NASA solicitation.” Therefore, if the federal government were to now present the FAR

clause to contractors and ask them to agree to the inclusion of that language in their

contract, it is highly unlikely that the contractor would see that it has any choice in

the matter.

           Essentially, the federal government is seeking to do indirectly what the Court

has stopped it from doing directly: requiring its contractors to adhere to the FAR

Deviation contract clause. Indeed, the FAR Memo made it clear that the FAR

Deviation contract language was required to be included in all federal government

contracts:

           [A]gencies are required to include an implementing clause in
           solicitations and contracts for services, including construction, in
           accordance with the following dates specified in section 6 of the order:

           • new contracts awarded on or after November 14 from solicitations
           issued before October 15 (this includes new orders awarded on or after
           November 14 from solicitations issued before October 15 under existing
           indefinite-delivery contracts);

           • new solicitations issued on or after October 15 and contracts awarded
           pursuant to those solicitations (this includes new solicitations issued on


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           or after October 15 for orders awarded pursuant to those solicitations
           under existing indefinite-delivery contracts);

           • extensions or renewals of existing contracts and orders awarded on or
           after October 15, 2021; and • options on existing contracts and orders
           exercised on or after October 15, 2021.

FAR Council Guidance,

https://www.whitehouse.gov/wpcontent/uploads/2021/09/FAR-Council- Guidance-on-

Agency-Issuance-of-Deviations-to-Implement-EO-14042.pdf, p.2 (emphasis added).

There was nothing negotiable about the inclusion of the FAR deviation then, and

there would be nothing negotiable about it now.

           In the meantime, contractors are free to implement whatever safety measures

they wish in order to protect their workforces and customers. Indeed, the evidence

submitted by ABC showed that ABC’s members are making efforts to vaccinate their

workforces and keep them safe.

           b.    The Preliminary Injunction is not limited to the enforcement of
                 only the vaccine requirement.

           In view of the Court’s careful consideration of EO 14042 and the FAR Memo,

as well as the SAFER Guidance, the Court’s Preliminary Injunction clearly

encompasses the requirements in the FAR Memo and SAFER Guidance regarding

not only vaccination but also masking, physical distancing, and the identification of

a person to coordinate COVID-19 safety requirements at the workplace. Indeed, the

Defendants acknowledge this fact themselves; in their Motion to Stay they state on

the very first page: “Defendants understand this Court’s order to prevent federal

agencies from enforcing COVID-19 safety clauses included in certain categories of

federal government contracts pursuant to Executive Order 14,042, so long as the


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preliminary injunction remains in place.” (emphasis added) (Doc. 97, p. 1). Therefore,

it is unclear as to why they are now seeking “clarification” of the scope of the Court’s

preliminary injunction when they understand that it encompasses the entire COVID-

19 safety clause.

           Furthermore, it is not necessary to include the SAFER Guidance regarding

masking, physical distancing, and coordination of COVID-19 safety requirements at

the workplace in government contracts because employers already must comply with

OSHA guidance on these issues. OSHA has adopted COVID-19 guidelines

analogous to those issued by the CDC. See Protecting Workers: Guidance

on     Mitigating      and   Preventing   the   Spread     of    COVID-19      in   the

Workplace, https://www.osha.gov/coronavirus/safework. This guidance contains

recommendations as well as descriptions of OSHA’s safety and health standards that

OSHA enforces related to COVID safety issues. And unlike the SAFER Guidance,

OSHA has tailored its guidance to distinct types of workplaces. See, e.g., Appendix:

Measures Appropriate for Higher-Risk Workplaces with Mixed-Vaccination Status

Workers, https://www.osha.gov/coronavirus/safework#appendix. And OSHA has used

its general duty clause (Section 5(a)(1) of the OSH Act) to enforce its COVID-19

guidance. Thus, it is not necessary for the federal government to introduce contract

provisions that require measures that are already enforced by OSHA.




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           Respectfully Submitted this 7th day January 2022.

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